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                        Exhibit 4
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- x
                                                                                   :
BENTHOS MASTER FUND, LTD.,                                                         :
                                                                                   :
                                                   Petitioner                      :
                                                                                   :    Case No. 20-cv-03384
                               - against -                                         :
                                                                                   :       SUBPOENA
                                                                                   :   DUCES TECUM AND AD
AARON ETRA,                                                                        :     TESTIFICANDUM
                                                                                   :
                                                   Respondent.                     :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- x



TO: Aaron Etra
    240 East 47th Street, Apt. 12A
    New York, New York 10017

      445 Park Avenue, 9th Floor
      New York, New York 10022

          WHEREAS, in an action in the United States District Court, Southern District of New York,

between petitioner-judgment creditor Benthos Master Fund, Ltd. (“Judgment Creditor”) and

respondent-judgment debtor Aaron Etra (“You” or “Judgment Debtor”), an order was entered by the

Clerk in the United States District Court, Southern District of New York, on August 13, 2020, in

favor of Judgment Creditor and against You in the amount of $5,254,561.12, plus the interest that has

accrued on that amount since May 1, 2020 at a 4% simple interest per annum, in the amount of

$59,887.60, and will continue to accrue (the “Judgment”);

          PLEASE TAKE NOTICE that, pursuant to Rule 69(a)(2) Federal Rules of Civil Procedure

(the “Federal Rules”) Federal Rules and Section 5224(a)(2) of the New York Civil Practice Law and

Rules (the “CPLR”), You are hereby commanded to produce the documents described in Schedule A
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                                             SCHEDULE A

                                               Definitions

                A.      The term “document(s)” is defined to be synonymous in meaning and equal in

scope to the usage of this term in Federal Rule of Civil Procedure 34(a), 1 and specifically includes

(but is not limited to) electronic documents, electronic or computerized data compilations, and

internal notes and memoranda (whether or not specifically referenced in any demand). A draft or

non-identical copy is a separate document within the meaning of this term.

                B.      The term “concerning” means relating to, referring to, reflecting, describing,

evidencing, or constituting.

                C.      All references to any individual or any entity (including but not limited to

parties to this suit) shall be deemed to include all officers, employees, representatives, agents, or

successors of the relevant person or entity, as applicable.

                D.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery demand all responses that might

otherwise be construed to be outside its scope.

                E.      The term “Benthos Master Fund, Ltd.” shall mean Petitioner and Judgment

Creditor Benthos Master Fund, Ltd.

                F.      The term “communication” means the transmittal of information (in the form

of facts, ideas, inquiries or otherwise).

                G.      “You” and “Your” means the person or entity responding to these requests and

all other persons acting or purporting to act on Your behalf, including all present and former


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 “. . . writings, drawings, graphs, charts, photographs, sound recordings, images, and other data or
data compilations . . . stored in any medium from which information can be obtained either directly
or, if necessary, after translation by the responding party into reasonably usable form.”
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affiliates, officers, directors, executives, partners, employees, principals, managers, staff personnel,

accountants, agents, representatives, in-house attorneys, assigns, successors or predecessors in

interest, independent contractors, advisors, and consultants.

                                              Instructions

               H.      To the extent that any of the following demands may be subject to a claim of

privilege, respond to so much of such demand as does not require, in your view, disclosure of

privileged information. As to every document withheld on the ground of privilege: (1) identify the

nature of the document, including whether it includes or contains an attachment; (2) identify and

describe the subject matter of the document; (3) specify the date(s) upon which the document was

prepared and/or transmitted; (4) identify the person(s) who prepared the document and to whom the

document was circulated, (5) identify all persons now in possession of the document; and (6) describe

the claim of privilege and state the factual basis for the claim.

               I.      If any required document has been destroyed or discarded, identify the

document by providing the information called for in subparagraphs (1) through (5) of the preceding

paragraph, and provide the date of destruction or discard and the reason therefor.

               J.      If any computer which contained responsive documents has been destroyed or

discarded, identify the prior location of such computer, the person or department to whom or to

which it was assigned, the date of destruction or discarding, the reason for destruction or discarding,

and the identity of the person who authorized destruction or discarding.

               K.      To the extent that you consider any portion of the following demands

objectionable, state specifically the portion of each demand that is claimed to be objectionable,

specify the grounds for each such objection, and otherwise respond to the remainder of the demand.

               L.      This request shall be deemed continuing in nature, and you shall promptly

produce in the form of supplementary document productions any document demanded herein that
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subsequently is discovered or obtained by, or becomes available to, you or your attorneys subsequent

to your response to this request.

                M.       Documents should be produced as they are kept in the usual course of business

or must be organized and labeled to correspond to the categories in this request.

                N.       This subpoena seeks the production of documents created, dated, sent or received

during the period beginning August 1, 2018 through the present, unless some other time period is

specified in a particular request.


                                         Documents Subpoenaed

        1.      All documents concerning the nature, extent, and location of all assets owned or

controlled by You, including those which detail the valuation of any assets owned or controlled by

You.

        2.      All documents concerning Your direct and indirect ownership interests in any business

or entity of any kind.

        3.      All documents, including but not limited to all monthly statements since August 1,

2018, concerning any bank accounts, brokerage accounts, investment accounts, checking accounts,

savings accounts, and all other accounts, whether in the United States or another country, in which

You have (or had) an interest, whether in Your name individually, jointly, in trust, as custodian, as

nominee, as a beneficiary or in conjunction with any other person or persons.

        4.      All documents, including but not limited to all monthly statements since August 1,

2018, concerning any credit cards in which You have (or had) an interest, whether in Your name

individually, jointly, in trust, as custodian, as nominee, as a beneficiary or in conjunction with any

other person or persons.




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        5.     All documents concerning assets (including real property and interests in any other

entity) and any bank accounts of Investors & Developers Associates Inc. (“INDEVA”), and any other

corporation or other entity controlled by You since August 1, 2018.

        6.     All documents relating to any real property, including leases for real property, in

which You, whether in Your name individually, jointly, in trust, as custodian, as nominee, as a

beneficiary or in conjunction with any other person or persons, have any interest, directly or

indirectly.

        7.     All documents concerning any stocks or securities owned by You, whether in Your

name individually, jointly, in trust, as custodian, as nominee, as a beneficiary or in conjunction with

any other person or persons.

        8.     All documents concerning any securities owned by You, including but not limited to

stock or interests in publicly or privately held companies, options, derivatives, futures, debt, bonds

and/or debentures.

        9.     All documents concerning any safe deposit boxes or other depositories ever

maintained by You.

        10.    All documents concerning any and all actual, proposed and/or contemplated

investments by You and all direct and indirect ownership interests in any entity, and the amount of

income received by You from these investments and ownership interests since August 1, 2018.

        11.    All documents concerning all proposed and actual purchases by any person or entity of

any asset or property owned or controlled by You, and all proposed and actual purchases by You of

any asset or property owned by any person or entity.

        12.    All documents concerning (i) any loans, lending commitments, advances or lines of

credit ever made, extended or received by You, (ii) the names and addresses of the parties to the



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loans, lending commitments, advances or lines of credit, (iii) the amount of the loans, lending

commitments, advances or lines of credit, (iv) all contractual terms and obligations relating thereto,

and (v) any repayments of loans, lending commitments, advances or lines of credit made by or to

You, the date and amount of the repayment, and the parties paying and receiving the repayment.

       13.     All documents concerning any current debts You have other than the one owed to

Benthos Master Fund, Ltd., including those which evidence (i) the amount and date of the original

indebtedness, (ii) the name and address of the creditor, (iii) the basis for the indebtedness, and (iv) the

amount and date of any sum repaid by You since the original indebtedness.

       14.     All documents concerning any other debts You have paid off in whole or in part,

including those which evidence (i) the amount and date of the original indebtedness, (ii) the name and

address of the creditor, (iii) the basis for the indebtedness, and (iv) the amount and date of any sum

repaid by You since the original indebtedness.

       15.     All documents concerning all persons and entities that are indebted to You, including

without limitation those which evidence (i) the amount and date of the original indebtedness, (ii) the

name and address of the debtor, (iii) the basis for the indebtedness, and (iv) the amount and date of

any sum repaid by the debtor since the original indebtedness.

       16.     All documents concerning all proposed and actual transfers, conveyances,

assignments, leases, sales or other dispositions of property, assets, cash, stock, membership interests

and/or any other consideration by You to any employee or representative of You, including, but not

limited to those evidencing (i) the nature, date, recipient, and amount of the transfer, conveyance,

assignment, lease, sale or other dispositions, and (ii) the repayment of advances and the satisfaction

of judgments and any other obligations or claims of any nature.




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       17.     All documents concerning all other proposed and actual transfers, conveyances,

assignments, leases, sales or other dispositions of property, assets, cash, stock, membership interests

and/or any other consideration by You to any person or entity, and from any person or entity to You,

including, but not limited to those evidencing (i) the nature, date, recipient, and amount of the

transfer, conveyance, assignment, lease, sale or other dispositions, and (ii) the repayment of advances

and the satisfaction of judgments and any other obligations or claims of any nature.

       18.     All documents concerning all monies, stock, property or other consideration paid,

received, purchased, sold, transferred or exchanged by and between You and any entity owned or

controlled by You (in whole or in part), including those evidencing (i) the nature and amount of the

monies, stock, property or other consideration paid, received, purchased, sold, transferred or

exchanged, (ii) the nature of the payment, receipt, purchase, sale, transfer or exchange, (iii) the date

of the payment, receipt, purchase, sale, transfer or exchange, (iv) the payor and recipient of the

monies, stock, property or other consideration, and (v) the consideration for the payment, receipt,

purchase, sale, transfer or exchange.

       19.     All documents concerning any property or money being held in trust for You,

including those documents which identify the person or entity and its address holding the property or

money, and the nature and amount of property or money.

       20.     All documents concerning property or money that You have placed in trust for another

person, including those documents which identify the person’s address, the person’s relationship to

You, the nature and amount of property or money, and the date of the creation of the trust.

       21.     All documents concerning any execution or attachment that has ever been levied

against Your property, including those which identify the property seized and the suit pursuant to

which the seizure took place.



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       22.     All documents concerning any motor vehicles, including but not limited to a car, SUV,

motorcycle, boat, etc., in which You have (or had) an interest, whether in Your name individually,

jointly, in trust, as custodian, as nominee, as a beneficiary or in conjunction with any other person or

persons since August 1, 2018.

       23.     All documents concerning any expenses, whether paid by You or by someone else on

Your behalf, related to including but not limited to a car, SUV, motorcycle, boat, etc., in which You

have (or had) an interest, whether in Your name individually, jointly, in trust, as custodian, as

nominee, as a beneficiary or in conjunction with any other person or persons since August 1, 2018.

       24.     All documents concerning any cash available with a value in excess of $1,000.

       25.     All documents concerning Your statement in an email dated August 20,2020 that You

“spent more money than I had, some $21,000, in fighting the court battle[,]” including documents

sufficient to detail all such expenses, including the bank account(s) from which any such payments

were made, the recipients of such payments, and the dates of those payments.

       26.     All documents concerning all legal fees and expenses that You have paid since August

1, 2018.

       27.     All documents concerning Your current residence, and any other place at which You

have resided since August 1, 2018.

       28.     All documents concerning all amounts spent in connection with Your maintenance of

an office space at 445 Park Avenue, 9th Floor, since August 1, 2018, including the bank account from

which any such amounts were drawn.

       29.     All communications with any person regarding Your ability to pay expenses as they

come due.




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       30.     All communications with any person regarding Your financial status, including but not

limited to Your assets and liabilities and any sources of income received by You.

       31.     All documents concerning agreements entitling You to the payment or receipt of

money, property or other consideration entered, and all terms thereof.

       32.     All documents concerning any escrow agent agreements entered into by You.

       33.     All documents concerning Your current employment, including but not limited to

documents demonstrating the name of Your employer and the title of Your position.

       34.     All documents concerning how Your monthly expenses have been paid each month

since August 1, 2018.

       35.     All documents concerning Your monthly living expenses since August 1, 2018,

whether paid by You or by someone else on Your behalf, including but not limited to rents, a

mortgage, food costs, bills and invoices of any kind, utilities, transportation expenses, insurances,

memberships and/or subscriptions, entertainment, etc.

       36.     All documents concerning any monthly living expenses that You currently pay for

someone other than Yourself, or have paid for someone other than Yourself since August 1, 2018,

including but not limited to rents, a mortgage, food costs, bills and invoices of any kind, utilities,

transportation expenses, insurances, memberships and/or subscriptions, entertainment, etc.

       37.     All documents concerning any expenses of any type that You had paid on behalf of

someone other than Yourself since August 1, 2018.

       38.     All documents concerning any judgments in Your favor, including those which

identify the judgments and the court, the index or case number, the parties involved and the date and

amount of the outstanding judgment.




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        39.    All documents concerning any judgments against You besides the one entered in this

action, including those which identify the judgments and the court, the index or case number, the

parties involved and the date and amount of the outstanding judgment.

        40.    All documents concerning any examinations of You by a judgment creditor, including

those which identify the judgment creditor, the action in which the examination took place, and the

date of the examination.

        41.    All documents concerning any lawsuits, currently pending or ever filed against You,

in any court or arbitration tribunal.

        42.    All documents concerning any proposed or actual settlement of any lawsuit or

arbitration involving You.

        43.    All documents concerning any deeds or evidence of ownership or any interest in real

property, either directly or through an entity under Your complete or partial control.

        44.    All documents concerning any of Your interests in any lien on personal or real

property.

        45.    All documents concerning any liens, security interests, mortgages or other

encumbrances against any property owned or controlled by You, including those evidencing (i) the

nature of the lien, security interest, mortgage or other encumbrance, (ii) the full description and

location of the property affected by the lien, security interest, mortgage or other encumbrance

(including, without limitation, the location and identity of the office of the filing or recording of such

lien, security interest, mortgage or other encumbrance, as well as full indexing and creditor

information), and (iii) all contractual terms and obligations relating to the liens, security interests,

mortgages, or other encumbrances.




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       46.     All documents concerning any and all stocks or bonds owned by You or in which You

have any interest, or evidence of ownership thereof.

       47.     Copies of all State and Federal income tax returns filed by You.

       48.     Copies of all financial statements, formal or informal, that You have generated or that

have been generated on Your behalf.

       49.     All documents concerning Your banking records. This includes, but is not limited to,

credit applications and records and statements for any checking, savings, money market, certificate of

deposit, investments, bonds, retirement accounts, safety deposit boxes or any other financial assets

maintained with any banking or financial firm or institution, whether in Your name individually,

jointly, in trust, as custodian, as nominee, as a beneficiary or in conjunction with any other person or

persons.

       50.     All documents concerning any policies of insurance in which You, whether in Your

name individually, jointly, in trust, as custodian, as nominee, as a beneficiary or in conjunction with

any other person or persons, have or had an interest.

       51.     All documents concerning any borrowing You have done against any interest in an

insurance or other claim now pending.

       52.     All documents concerning payments You have made on any premiums of any life

insurance or annuities policies for any person, including those which identify the names of the

insurance companies, the policy numbers, the premium amounts, and the present cash value and

beneficiaries of each such policy.

       53.     All other documents relating to Your liabilities and expenses.

       54.     All documents relating to any business, partnership, limited liability company, limited

liability partnership, or any other entity in which You have any ownership interest.



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        55.     All documents concerning all purchases, sales and exchanges by You of registered and

unregistered securities, membership interests, partnership interests, debt and other holdings in all

entities of any kind, including, without limitation, a description of the nature, amount, value and

location of the interests, debt or other holdings.

        56.     All documents concerning any security pledged by You in connection with real

property or personal property that You own (in whole or in part) or lease.

        57.     All documents concerning any of Your property covered by a security agreement or

subject to a financing statement under the Uniform Commercial Code, including those which identify

the property, its value and location.

        58.     All documents concerning whether You are a party to any action now pending in any

court or arbitration tribunal not involving Benthos Master Fund, Ltd., including those which identify

the action or arbitration.

        59.     All documents concerning any loans, lending commitments, advances or lines of credit

ever made, extended or received by You.




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